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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                  Case No.
                 Plaintiff,                       Hon.

       v.                                         Complaint for Injunctive Relief
                                                  Pursuant to 18 U.S.C. § 1345
WILLIAM ANTHONY SMITH,

                 Defendant.                       Filed Under Seal


                                   Verified Complaint

      Plaintiff, the United States, by and through Dawn N. Ison, United States

Attorney for the Eastern District of Michigan, and the undersigned Assistant

United States Attorneys, alleges as follows:

                              I.      Nature of the Action

      1.     Defendant William A. Smith (“Smith” or “Defendant”) is charged by

criminal complaint in this District with defrauding the Detroit Riverfront

Conservancy (“Conservancy”) of approximately $40 million dollars, including $5

million dollars obtained from Citizens Bank based upon false and fraudulent

pretenses, representations, and promises, all in violation of 18 U.S.C. § 1343 (Wire

Fraud) and 18 U.S.C. § 1344 (Bank Fraud). Criminal Case No. 24-mc-30217.

Now—as detailed in Sections VI(A) and (B) below—he is actively moving and
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dissipating assets, including assets likely gained by his fraud and money

laundering. Plaintiff brings this action for a temporary restraining order,

preliminary and permanent injunctions and other equitable relief, to enjoin the

Defendant, his brokers, agents, employees and entities owned or controlled by

Defendant from alienation and disposition of property or assets derived from the

commission of the offenses or of equivalent value, for the purpose of preventing a

continuing and substantial injury to the victims thereof, and preserving said assets

for forfeiture, fines, and restitution.

                              II.    Jurisdiction and Venue

       2.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1331, 28 U.S.C. §1345, and 18 U.S.C. § 1345.

       3.     Venue lies in this district pursuant to 28 U.S.C. § 1391(b).

                                          III.       Parties

       4.     Plaintiff is the United States of America (“United States”).

       5.     The Defendant, William Anthony Smith, is a resident of Northville,

Michigan. He served as the Chief Financial Officer of the Conservancy from 2011

until May 10, 2024, when he was placed on paid leave. On May 17, 2024, SMITH



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was placed on unpaid leave. On May 31, 2024, the Conservancy terminated

Smith’s employment.

                      IV.    The Anti-Fraud Injunction Statute

      6.     The Anti-Fraud Injunction Statute, 18 U.S.C. § 1345, authorizes the

Attorney General to file a civil action to enjoin three types of criminal activity: (1)

mail, wire, and other fraud prescribed in 18 U.S.C. Pt. I, Ch. 63, as well as false

claims, false statements, and conspiracy under 18 U.S.C. §§ 287, 371, and 1001;

(2) banking law violations as defined in 18 U.S.C. § 3322(d); and (3) federal health

care offenses. 18 U.S.C. § 1345(a)(1).

      7.     In the case of banking law violations, the Fraud Injunction Statute also

authorizes the Attorney General to commence a civil action in any federal court if

a person is alienating or disposing of property, or intends to alienate or dispose of

property obtained as a result of, or which is traceable to, a banking law violation.

18 U.S.C. § 1345(a)(2).

      8.     Also in the case of banking law violations, the relief available to the

United States includes: (i) an injunction preventing the alienation or disposition of

property obtained as a result of, or which is traceable to, such violation; (ii) a

restraining order prohibiting any person from withdrawing, transferring, removing,

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dissipating, or disposing of any such property or property of equivalent value; and

(iii) the appointment of a receiver to administer the restraining order.

      9.     “Banking law violations” as defined in 18 U.S.C. § 3322(d) includes

violations of and conspiracies to violate 18 U.S.C. § 1344 (bank fraud), and 18

U.S.C. § 1343 (wire fraud affecting a financial institution), and 18 U.S.C. §§ 1956

and 1957 (money laundering).

      10.    In any case under 18 U.S.C. § 1345, including cases of non-banking

law violations, the relief available to the United States is a restraining order or

injunction of the fraudulent conduct, or such other action, “as is warranted to

prevent a continuing and substantial injury to the United States or to any person or

class of persons for whose protection the action is brought.” 18 U.S.C. § 1345(b).

                           V.     Related Legal Framework

      11.    A central dimension of the “continuing and substantial injury”

Congress sought to prevent via 18 U.S.C. § 1345(b) and (a)(2) is a fraudster/money

launderer’s efforts to make it more difficult or impossible for the victims and the

United States to obtain their legal rights to restitution and forfeiture. Those

rights—though not limited to restitution and forfeiture—are substantial, and they

suffer each time Smith hides, sells, and spends another asset.

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      12.    Federal forfeiture statutes 18 U.S.C. §§ 981 and 982, together with 28

U.S.C. § 2461, provide that any property that constitutes proceeds, whether direct

or indirect, or property traceable thereto, in violation of 18 U.S.C. §§ 1343, 1344,

1956, and 1957, or any property traceable to such property, shall be subject to

forfeiture to the United States, and no property right shall exist in it. All right,

title, and interest in such property vests in the United States upon the commission

of the act(s) giving rise to forfeiture. See e.g. 21 U.S.C. § 853(c).

      13.    Federal forfeiture statutes 18 U.S.C. §§ 981 and 982 also provide that

any property involved in a transaction, or attempted transaction in violation of 18

U.S.C. §§ 1956, and 1957, or any property traceable to such property, shall be

subject to forfeiture to the United States, and no property right shall exist in it. All

right, title, and interest in such property vests in the United States upon the

commission of the act(s) giving rise to forfeiture. See e.g. 21 U.S.C. § 853(c).

      14.    In the event of conviction, the United States in appropriate

circumstances is entitled to a forfeiture money judgment in the amount of a

Defendant’s total forfeiture liability. United States v. Bradley, 969 F.3d 585, 588

(6th Cir. 2020). And under 21 U.S.C. § 853(p), in appropriate circumstances

where tainted property is no longer available, the United States may forfeit “any

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other property of the defendant, up to the value of any [tainted] property[.]”

      15.    Furthermore, a restitution order is mandatory in the amount of the

victims’ actual loss in the event of Smith’s conviction. See e.g. 18 U.S.C. § 3663A

et seq; 18 U.S.C. § 3664 (Mandatory Victims Restitution Act (“MVRA”)).

      16.    A lien under the MVRA arises automatically at the time of judgment

and attaches to “all property and rights to property” of the debtor. See 18 U.S.C.

§ 3613(c). This includes a debtor’s equitable or beneficial interests in property

even though legal title may be in the name of a nominee or alter ego. United States

v. Frank, 8 F.4th 320, 322 (4th Cir. 2021); G.M. Leasing Corp. v. United

States, 429 U.S. 338, 350–51 (1977) (“rights to property” can include assets held

by a debtor’s nominee or alter ego); Lemaster v. United States, 891 F.2d 115, 119

(6th Cir.1989) (same); see also United States v. Wilson, Case No. 14-13831, 2016

WL 3198629, at *17-18 (E.D. Mich. June 9, 2016).

      17.    Courts have held that even pre-indictment, a defendant should

reasonably believe “he [is] incurring debts beyond his ability to pay when he

defrauded [the victim] and the government of millions of dollars.” United States v.

Loftis, 607 F.3d 173, 177-178 (5th Cir. 2010) (citing United States v. Resnick, 594

F.3d 562, 567 (7th Cir. 2010) (same); see also 28 U.S.C. § 3002(3)(B) (defining

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“debt” to include money owed to the government on account of restitution)).

                              VI.    Factual Allegations

     A. Underlying Wire and Bank Fraud

        18.   Smith was employed as the Chief Financial Officer of the Detroit

Riverfront Conservancy from 2011 until May 2024 when he was placed on leave 1.

Beginning as early as November 2012 and continuing until his suspension, Smith

embezzled funds belonging to the Detroit Riverfront Conservancy, falsified

documents to conceal his theft from the Conservancy’s Board and Conservancy

employees, and fraudulently obtained a $5 million line of credit from a financial

institution secured by the Conservancy’s pledged donations after Smith’s

embezzlement threatened to exhaust the Conservancy’s cash reserves. Smith used

the embezzled funds for his own personal gain and enrichment, spending the funds

on airline tickets, hotels, limousines, household goods, lawn care, clothing, and

jewelry.




1
 On May 31, 2024 the Detroit Riverfront Conservancy terminated Smith’s
employment for cause.

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                                        Background

         19.    The Conservancy is a 501(c)(3) organization formed with the mission

of developing access to the Detroit International Riverfront. The entire vision is 5

½ miles of Riverfront property, from the Ambassador Bridge to Gabriel Richard

Park, just east of the Belle Isle Bridge, and will include the construction of a

continuous RiverWalk along with plazas, pavilions and green spaces.2 The

Conservancy is funded by a combination of public and private funds. In 2018, the

Ralph C. Wilson, Jr. Foundation gave a $40 million grant to the Conservancy. 3 The

Conservancy has also received federal grants through the Environmental Protection

Agency as well as state funding. In 2020, the EPA signed a $2.5 million agreement

with the Conservancy to remediate contaminated sediment and create a new habitat

along the Ralph C. Wilson, Jr. Centennial Park funded through the Great Lakes

Legacy Act.4



2
    https://detroitriverfront.org/our-story
3
 https://www.dailydetroit.com/50-million-gift-from-the-ralph-c-wilson-jr-
foundation-will-transform-west-riverfront-park/
4
 https://www.epa.gov/newsreleases/epa-announces-25-million-plan-advance-
cleanup-detroit-river-area-concern

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        20.   Comerica Bank and Citizens Bank are financial institutions as defined

by 18 U.S.C. § 20 and maintained that status throughout all time periods relevant

to this complaint.

        21.   Smith was hired by the Detroit Riverfront Conservancy as senior

director of finance in 2006. He was promoted to the Chief Financial Officer (CFO)

in 2011. 5 Smith was a finalist for the Crain’s CFO of the Year Award in 2013.

Smith also served on the board of directors for Develop Detroit, a non-profit

company that specializes in affordable and mixed-income housing. 6

        22.   In his position as CFO, Smith had sole access and control over the

Conservancy’s business checking account at Comerica Bank ending in digits 0923.

He also had access to and control of the Conservancy’s accounts at Citizens Bank.

        23.   Smith has established many other business entities in the State of

Michigan. Two of his businesses have been directly involved in disbursements




5

https://www.crainsdetroit.com/article/20130526/AWARDS03/305269989/william-
smith
6
    https://www.developdetroit.org/our-mission

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from the Conservancy’s Comerica account ending -0923. Those entities are The

Joseph Group & Associates LLC and William Smith & Associates LLC.

      24.    State of Michigan Department of Licensing and Regulatory Affairs

(LARA) records show that The Joseph Group & Associates LLC was organized by

Smith and another individual in October 2012. The articles of organization showed

that the business purpose or activity was “marketing.” Smith is listed as the

registered agent. The address shown was 33006 Seven Mile Road Suite 192 in

Livonia, Michigan.

      25.    LARA records show that Smith formed William Smith & Associates

LLC in 2001. The address shown was 33006 Seven Mile Road Number 172 in

Livonia, Michigan. No annual statements were filed between October 2017 and

March 2022. On April 18, 2022, SMITH filed annual statements for 2018 through

2022 along with a certificate of restoration of good standing.

                             American Express Activity

      26.    On May 16, 2024, MSP officers executed a state search warrant of

Smith’s office at the Conservancy, taking many but not all documents and records

located therein. On May 31, 2024, FBI agents executed a subsequent search

warrant of Smith’s office at the Conservancy, in order to secure the remaining

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material in the office. His office has been kept locked since he was placed on

leave, including during the time between the MSP and FBI searches. A large stack

of dated American Express monthly statements located in Smith’s office at the

Conservancy showed that a Business Platinum Card account ending -0-87001 was

opened in the name W A Smith and Assoc / WILLIAM A. SMITH. The mailing

address on the statements was 33006 7 Mile Rd # 172 Livonia Michigan – the

same address shown on the LARA filings for William Smith & Associates LLC.

The statements indicated that four American Express cards were issued on the

account, including to Smith and his wife and other family members. The

Conservancy did not maintain any American Express Corporate Cards and had no

relationship to this account.

      27.    Comerica Bank statements showed that on November 5, 2012 there

was an Amex Epayment ACH payment from the Conservancy’s account ending in

-0923 in the amount of $89,339.43. On November 30, 2012, there was a second

Amex payment of $47,231.21.

      28.    The February 2013 American Express statement shows an online

payment to Smith’s AmEx account on February 2, 2013 in the amount of

$60,330.55. Bank statements obtained from Comerica showed that an Amex

                                         11
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Epayment ACH payment in the same amount was posted to the Conservancy’s

checking account ending -0923 two days later. FBI review of Smith’s AmEx

statements showed that in January 2013 Smith had purchased airline tickets for

himself and others, paid insurance premiums, and made significant purchases of

clothing and jewelry. For example, on January 3, 2013, Smith made a $4,850.00

purchase of men’s clothing from Revive in Birmingham, Michigan. Smith also

made a $5,618.00 jewelry purchase from Diamonds Direct in Southfield, Michigan

on January 24, 2013.

      29.   The March 2013 American Express statement showed a $12,900.44

charge from Draper Chevrolet Toyota in Saginaw, Michigan on March 8, 2013.

The following day, there was a $17,452.80 charge from Louis Vuitton. Comerica

and American Express statements showed that on March 14, 2013, Smith made a

$96,002.12 electronic payment from the Conservancy’s Comerica account ending -

0923 to his American Express account.

      30.   FBI review of the June 2013 American Express statement revealed

that Smith used more than $22,000 of Conservancy funds for his residence. The

Amex card issued in Smith’s wife’s name included the following charges:



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    Date       Description                                           Amount
    6/10/2013 Scott Shuptrine Interiors Royal Oak                     $2,122.00
    6/10/2013 Trugreen: Lawn Care                                       $167.48
    6/10/2013 Scott Shuptrine Interiors Royal Oak                     $3,250.00
    6/15/2013 The Home Depot                                            $169.43
    6/17/2013 Art Van Furniture                                         $500.00
    6/20/2013 Wayfair: Jemma Hall Mirror                                $376.90
    6/28/2013 Wayfair: Lindsey Pillow, Bristol Butter Warmer, 8         $272.45
              Piece Nantucket Set, 21 Piece Lugano Taster Series
    6/29/2013 The Home Depot                                          $7,247.87
    6/29/2013 Sherwood Studios West Bloomfield                        $8,000.00


According to their website 7, “The Scott Shuptrine name is synonymous with

luxury. We bring an exclusive, premium level of home furnishings and service to

Illinois, Michigan, and Ohio making world-renowned interior design accessible for

today’s discerning décor enthusiast.” These household items were funded by

Conservancy funds. Comerica and American Express statements showed that on




7
    https://www.scottshuptrine.com/about/

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July 1, 2013, Smith made a $56,142.73 electronic payment from the Conservancy’s

Comerica account ending -0923 to his American Express account.


      31.   Based upon FBI interviews with Conservancy staff and review of

bank documents, the Conservancy had a corporate credit card account from

Citizens Bank, not American Express. Per an FBI interview with Conservancy

interim CEO R.S., he noticed huge payments to American Express on the

Comerica statements. R.S. contacted other Conservancy employees, M.W. and

W.W., who were also surprised by the American Express transactions because the

Conservancy did not have an American Express corporate charge card account.

Smith was not authorized to use Conservancy funds to pay personal expenses, and

based upon FBI review of American Express statements located in Smith’s office,

it appears that Smith used his American Express card for transactions that were not

legitimate business expenses.

      32.   The payments to American Express using Conservancy funds

continued until March 2024. Pricewaterhouse Coopers (PwC), an accounting firm

hired by the Conservancy, has conducted an analysis of the available bank records.

PwC reported that there were approximately $14.9 million in Amex Epayments

from the Conservancy Comerica account ending -0923 between November 2012
                                        14
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and March 2024. PwC compiled this information on a spreadsheet. The FBI has

reviewed the PwC spreadsheet and the underlying bank records and can verify the

accuracy of the PwC computations.

        33.    The Amex Epayments were identified on the statements as ACH

transactions. All ACH payments are routed and processed by the U.S. Federal

Reserve or the Clearing House Payments Company, a private business owned by

24 of the world’s largest commercial banks. 8 The Clearing House’s ACH payments

service, called the Electronic Payments Network, is responsible for approximately

half of all U.S. commercial ACH payment volume. The U.S. Federal Reserve

banks handle the other half of ACH transactions. Because SMITH made electronic

payments online from locations in Michigan, using an account at Comerica Bank

which has its headquarters in Texas, to American Express which has its payment

processing facility in California, all via the ACH system, there is probable cause to

believe that SMITH caused certain writings, signs, or signals to be transmitted by

means of wire communication in interstate commerce for the purpose of executing

this scheme.



8
    https://www.forbes.com/advisor/banking/ach-payments/#What%20Is%20Ach?

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                                The Joseph Group

      34.   Beginning in February 2013, SMITH wired funds from the

Conservancy’s account ending -0923 to The Joseph Group.9 As indicated above,

Smith formed The Joseph Group & Associates approximately four months earlier.

On February 4, 2013, there was a $95,000 wire transfer from the Conservancy’s

Comerica account ending -0923 to The Joseph Group, followed by another

$75,000 a week later.

      35.   The FBI has interviewed the Chairman of the Conservancy Board as

well as the Conservancy’s staff accountant. Based upon those interviews, the

Joseph Group was not an approved vendor and has not provided any goods or

services to the Conservancy.

      36.   Comerica bank statements for account ending -0923 showed 259 wire

transfers to The Joseph Group between 2013 and 2024.

      37.   PwC reported that there were approximately $24.4 million in wire

transfers from the Comerica account ending -0923 to The Joseph Group between




9
 Comerica bank statements truncated the wire beneficiary name to “The Joseph
Gro.”

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February 2013 and February 2024. PwC compiled this information on a

spreadsheet. The FBI has reviewed the PwC spreadsheet and the underlying bank

records and can verify the accuracy of the PwC computations.

                                 The Concealment

      38.   Smith concealed the above payments to his American Express and

The Joseph Group accounts from the Conservancy’s employees and board

members. Smith, as the CFO, was the immediate supervisor of W.W., a staff

accountant, who has worked for the Conservancy since 2009. W.W. was

responsible for recording transactions in the Conservancy’s QuickBooks database,

a popular accounting software used by small businesses and accountants.

      39.   Smith provided W.W. with paper copies of the Comerica bank

statements for the Conservancy’s account ending in -0923. Since the COVID-19

pandemic, W.W. has worked remotely and met Smith roughly four times a year at

the parking lot of a Honey Baked Ham store in Ann Arbor, Michigan. W.W. was

expected to complete the QuickBooks entries, which included inputting the

Comerica bank transactions, within three days. W.W. asked Smith for access to the

Comerica online banking portal so that she could pull the transaction history

directly, but Smith ignored her requests, providing her with paper statements only.
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Smith was the only individual at the Conservancy who had the password for the

Comerica online banking portal.

      40.    The paper statements provided by Smith to W.W. were altered. These

statements falsely inflated the available balance in the account and replaced the

transactions involving American Express ACH payments and wire transfers to The

Joseph Group with other fictitious information. For example, the FBI compared

the statements which Smith had given to W.W. for July 2023 (the SMITH

statements) with statements obtained directly from Comerica Bank (the Comerica

statements). The Smith statements showed a beginning balance of $2,058,829.17

on July 1, 2023; and an ending balance of $2,302,164.85 on July 31, 2023.

According to the Comerica statements, on July 1, 2023, the true beginning balance

was a mere $21,064.87 and the ending balance was $134,161.66 – a difference of

more than $2 million between the actual statements and the false statements Smith

provided W.W.

      41.    Both the Smith statements and the Comerica statements showed that

there were 16 electronic withdrawals in July 2023. However, the Comerica

statements showed two wire transfers from the Conservancy’s account ending in

0923 to The Joseph Group and an ACH payment to American Express which were

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not listed on the Smith statements. Smith replaced these withdrawals with much

smaller payments to “American Express Axp Discnt.” The following table

illustrates how Smith concealed the moneys he took for his own benefit:

                   Comerica Statements                 SMITH Statements
Date             Description        Amount            Description         Amount
7/13/2023 Wire Bnf The Joseph Gro $ 48,600.00 American Express Axp Discnt $ 65.15
7/14/2023 Amex Epayment ACH Pmt $ 51,672.33 American Express Axp Discnt $ 72.33
7/27/2023 Wire Bnf The Joseph Gro $ 26,800.00 American Express Axp Discnt $ 82.65


The Smith statements showed that the total electronic withdrawals for July 2023

was only $18,540.47. The actual total value of withdrawals shown on the Comerica

statements was $148,689.


      42.   Smith occasionally provided statements to W.W. in which he replaced

withdrawals taken for his own benefit with much larger payments to a known

vendor, which also served to conceal his embezzlement. These transactions were

intended to appear to be legitimate vendor payments. For example, on September

21, 2023, the Comerica statements showed that there was a $97,200.00 wire

transfer to The Joseph Group. On the Smith statements provided to W.W., the

$97,200 wire transfer was replaced with a $1,978,205.50 wire transfer to State of

Michigan. A Post-It note on the statement Smith gave to W.W. indicated


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$1,978,205.50 was to pay MDOT. The Michigan Department of Transportation is

an approved vendor for the Conservancy and serves in a general contractor

capacity for improvement projects on the riverfront. The undersigned agent

believes that the purported payment to MDOT for work allegedly performed at this

time was fictitious and intended to conceal many of the large disbursements to

Smith’s American Express account and The Joseph Group over time.

                                Citizens Bank Loan

      43.    On May 8, 2024, Conservancy personnel discovered that the

Conservancy had obtained a $5 million line of credit with Citizens Bank. The

Conservancy’s operating expenses and working capital were funded through public

and private grants. (See ¶ 19 above). The FBI interviewed the Conservancy’s

Chair, former CEO, interim CEO, and Corporation Secretary and they

unanimously told the FBI that the Conservancy’s donations and public funding

were more than sufficient to cover its projects and legitimate expenses, and there

was no need for such a line of credit.

      44.    An internal search of the Conservancy’s e-mail server, conducted by

their IT manager, revealed messages between Smith and B.A., a vice president and

relationship manager at Citizens Bank. On March 29, 2023, B.A. e-mailed Smith
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asking “Do you have documentation that supports you as sole signer for all things

related to financing?” Smith responded two hours later saying “Attached is

requested info. Also rate is fine. Thanks for getting this done.” Attached to Smith’s

e-mail was a “Corporation Certificate of Authority,” purportedly signed by J.P.,

Corporation Secretary, on December 9, 2022. According to the document, the

Board of Directors resolved during a meeting on December 8, 2022 that Smith, as

CFO, was fully authorized to “execute and commit the Corporation to the

conditions, obligations, stipulations and undertakings contained in any Contract.”

      45.    The FBI interviewed J.P. about the Corporation Certificate of

Authority. J.P. stated that this was not her signature and that she had not seen the

document prior to May 8, 2024. Prior to the interview, J.P. reviewed the Board of

Directors’ records and her personal calendar. Neither the agenda for the December

8, 2022 board meeting nor the minutes of that meeting referred to any resolution

such as the one described in Smith’s e-mail to B.A. granting him authority. The

records did show that Smith was present at the December 8, 2022 board meeting.

Also, J.P. stated that on December 9, 2022, the day she purportedly signed the

certificate, she was working offsite all day.



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        46.   Citizens Bank approved and funded the line of credit on March 31,

2023. The original credit limit was $3.5 million. An additional $2 million was

approved on March 18, 2024. Banks routinely disburse funds from lines of credit

through internal credits to checking accounts at the same financial institution.

        47.   The Conservancy maintained a commercial checking account ending -

6260 at Citizens Bank. This account was designated as the Conservancy’s General

Operating Account. Citizens Bank statements showed that there was a $2.5 million

commercial loan deposit into this account on January 18, 2024. On the same date,

the Citizens statements showed a $175,000 outgoing wire transfer. The Comerica

statements for account ending -0923 showed an incoming wire transfer of

$175,000 on the same date. Therefore, the undersigned agent believes that Smith

wired $175,000 of the Citizens loan proceeds into the Comerica account ending -

0923.

        48.   It was necessary for Smith to wire the funds from the Citizens Bank

account into the Comerica Bank account because W.W., the Conservancy’s staff

accountant, had online access to the Citizens banking portal. As stated above,

Smith ignored W.W.’s requests for similar access to the Comerica portal forcing

W.W. to rely upon paper statements provided by Smith.

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      49.   The Comerica statements showed that there was a $126,300 wire

transfer to The Joseph Group on January 22, 2024. There was also a $65,226.00

Amex Epayment on January 23, 2024. Without the money from the Citizens Bank

transfers, there would not have been sufficient funds for Smith to make the

payments to The Joseph Group and his American Express account.

                           Scope of Defendant’s Fraud

      50.   Smith has received substantial funds as a result of his fraudulent

conduct, as described herein, in the amount of at least $39,300,000.00, even

without inclusion of the $5M loan from Citizens Bank. 10

      51.   Summary of Wire/Bank Fraud Allegations: As described above,

WILLIAM SMITH made numerous electronic funds transfers from the

Conservancy’s Comerica account ending -0923 for his own personal benefit and

enrichment. He also created false and fraudulent Comerica Bank statements to

conceal payments to his company, The Joseph Group. His fraudulent Comerica



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  See ¶¶ 32 ($14.9M to American Express) and 37 ($24.4M to the Joseph
Group). The calculations herein are as of the date of this Complaint, and the United
States reserves the right to modify the calculations as the investigation continues.
The amount that Smith has derived from fraud is likely higher.

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Bank statements also concealed his use of Conservancy funds to pay American

Express bills for cards issued to SMITH and his family members. Together, these

unauthorized payments (to The Joseph Group and American Express) totaled

approximately forty million dollars. SMITH personally provided these false and

fraudulent Comerica Bank statements to the Conservancy’s staff accountant. The

false information in those statements was used to generate reports relied upon by

the board of directors. Having exhausted the Conservancy’s cash holdings, SMITH

obtained a five-million-dollar line of credit from Citizens Bank in an effort to

cover cash shortfalls caused by his embezzlement, and for his own benefit. The

Citizens Bank line of credit was approved and funded based upon SMITH’s false

and fraudulent representations that he was authorized by the Conservancy to act

independently on its behalf.

      52.    Thus, Smith executed a scheme to obtain money from the

Conservancy and Citizens Bank based upon false and fraudulent representations in

violation of Title 18 United States Code §§ 1343 and 1344.

   B. Ongoing Alienation of Criminal Proceeds

      53.    Although investigation is ongoing, it appears that Smith has used the

millions he defrauded from the Conservancy, along with his own funds, to amass

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and/or improve a substantial amount of real property in the U.S. states of Michigan

(including Northville, Redford, Detroit, and Idlewild), Texas, Georgia, and the

country of Mexico. His efforts are facilitated by numerous LLCs under his

direction and control.

      54.    Smith had notice that his conduct was being discovered months ago,

when the Conservancy became concerned about the bookkeeping and requested

additional explanations of sources and uses of Conservancy funds from Smith.

Before the federal government even became involved, Smith was told that the case

was being referred to law enforcement.

      55.    FBI investigation reveals that Smith is engaging in an ongoing effort

to transfer assets that would otherwise be available to repay his victims.

      56.    Georgia Home for sale: Smith controls a property at 2087 Holtz Ln.,

Atlanta, GA, which as of June 21, 2024, is listed for sale at a price of $799,900.

He purchased the property in his own name on November 9, 2020, for

$665,002.00, and on November 20, 2020, transferred the property by quit claim

deed to YBE Investments, LLC, an entity under his control. According to a Zillow




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listing page, 11 the house has been listed for sale since May 28, 2024, less than 2

weeks after Smith was placed on unpaid leave.

      57.    Mexico condo for sale: Smith also appears to control a two-bedroom,

two-bathroom condominium in Mexico that is listed for sale. A document dated

November 3, 2021, left in Smith’s office at the Conservancy shows Smith, on

behalf of Alter Ego Properties, LLC, granting a power of attorney to an individual

named Sharah Rose, limited to a condominium unit at Pedregal One 203, in Los

Cabos, Baja California Sur, Mexico. As of June 12, 2024, the condominium was

listed for sale with a price of $385,000 according to two public websites (the

second of which now says that the “Status” is “CLOSED” while the first still lists

the property for sale as of June 21, 2024).12 A review of available records

indicates that the condo was likely built in 2021 or later.

      58.    36’ Yacht for sale: FBI investigation has also revealed that Smith



11
  https://www.zillow.com/homedetails/2087-Holtz-Ln-NW-Atlanta-GA-
30318/2082894034_zpid/
12
  See https://www.point2homes.com/MX/Home-For-Sale/Baja-California-
Sur/Los-Cabos/Cabo-San-Lucas-Pacific-Side/Pedregal-One-203/155195689.html;
and https://for-sale.ownincabo.com/idx/details/listing/b349/23-4597/Cabo-San-
Lucas-BS-23450?widgetReferer=true

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owns a yacht that he has recently attempted to sell. The yacht in question is a 2021,

36-foot Cruisers 35 Express, with hull number CRSEC214B021, named the "SS

DUO." State of Michigan records reflect that Smith purchased the watercraft on

May 21, 2021. On June 6, 2024, contact was made with the attorney for the entity

that originally sold the boat to Smith, who advised that the listing to sell the boat

recently expired, but that it would not be extended because of the notoriety related

to Smith. The vessel was listed for sale recently this year, during the period that

Smith had notice of potential criminal and civil liability. Similar yachts appear to

be listed for sale online at prices ranging from $300,000 to $375,000. The yacht is

believed to be dry docked at a Detroit area marina.

      59.    Given that Smith obtained $39.3 million in fraud proceeds over 12

years, while making less than $3 million total in that timeframe from his

Conservancy salary, and his pattern of transferring criminal proceeds to LLCs in

his control or spending them on his own pursuits, the United States alleges that

Smith obtained or improved the great majority of his numerous assets with fraud

proceeds. This is particularly obvious in the case of the Georgia home, the Mexico

condo, and the Cruisers 35 Express yacht, in that these are high-value luxury assets

purchased during the fraud period.

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      60.    If Smith succeeds in his active efforts to sell the Georgia home,

Mexico condo, or yacht, the corresponding monetary transaction would be a

criminal violation of 18 U.S.C. § 1957, if they constitute transactions exceeding

$10,000 in criminally derived property.

      61.    Recent Transfer of Marital Home: In May, Smith purported to

transfer his longtime marital residence at 25307 Ross Drive, Redford, MI 48239.

Although not currently his primary residence, William Smith has owned the home

since 2003 with his wife, Kimberly Smith, via warranty deed. But on May 6,

2024, Smith and his wife purported to transfer the property by quit-claim deed to

Ross Drive, LLC, for the sum of $10.00 dollars. The deed lists Kimberly Smith as

the “Sole Member” of Ross Drive LLC, and the Grantor’s addresses as “Mr.

William Smith and Mrs. Kimberly Smith” of the same address that they

purportedly sold: 25307 Ross Drive Redford, MI 48239.

      62.    Recent Transfer of Detroit Properties: On April 23, 2024, Smith

purported to transfer the real property at 16510 Biltmore Street, Detroit, MI, from

“William Anthony Smith” to “William Smith III” for the sum of $10.00, by quit

claim deed. The quit claim deed was witnessed by the same individuals who

witnessed to the deed purporting to convey 25307 Ross Drive to Ross Drive LLC,

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including Rashad Reeves. As of June 9, 2024, public real estate websites estimate

the true value of the home between $93,600 and $114,000.13 The quit claim deed

was recorded May 21, 2024, four days after the Conservancy placed Smith on

unpaid leave. In addition, on that same day (April 23, 2024), Smith purported to

transfer the real property at 16527 Biltmore Street, Detroit, Mi, from YBE Property

Group LLC to You Services, LLC with Darrell Greer as Managing Member for the

sum of $35,000, by quit claim deed. This transaction was also witnessed by

Rashad Reeves. Ex. 14. As of June 21, 2024, Redfin estimates the true value of

the home as $79,939.14

        63.   At this stage of the ongoing investigation, the FBI has identified the

following assets (in addition to those listed above, and excluding financial/

monetary accounts) in which Smith has an interest or recently purported to

transfer:

        a)    TWO (2) 2021 CAN-AM MOTORCYCLES


13
  https://www.realtor.com/realestateandhomes-detail/16510-Biltmore-
St_Detroit_MI_48235_M43371-15535 ($114,000);
https://www.zillow.com/homedetails/16510-Biltmore-St-Detroit-MI-
48235/88570438_zpid/ ($93,600).
14
     https://www.redfin.com/MI/Detroit/16527-Biltmore-St-48235/home/98538138

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      b)     ONE (1) 2021 36' CRUISERS 35 EXPRESS YACHT
      c)     880 E. M.L. KING DR., IDLEWILD, MI
      d)     1977 WOODBRIDGE, DETROIT, MI
      e)     2087 HOLTZ LANE, ATLANTA, GA 30318-9304
      f)     6405 PENROD, DETROIT, MI
      g)     11739 HEYDEN, DETROIT, MI
      h)     11914 DEEPWATER RIDGE WAY, CYPRESS, TX 77433
      i)     12709 CLOVERLAWN, DETROIT, MI
      j)     14026 MARK TWAIN, DETROIT, MI
      k)     15791 MURRAY HILL, DETROIT, MI
      l)     16500 BILTMORE, DETROIT, MI
      m)     16510 BILTMORE, DETROIT, MI
      n)     16527 BILTMORE, DETROIT, MI
      o)     16700 BILTMORE, DETROIT, MI
      p)     16717 RUTHERFORD, DETROIT, MI
      q)     17125 W. MCNICHOLS, DETROIT, MI
      r)     17207 W. MCNICHOLS, DETROIT, MI
      s)     18901 W. MCNICHOLS, DETROIT, MI
      t)     18921 W. MCNICHOLS, DETROIT, MI
      u)     21291 EQUESTRIAN, NORTHVILLE, MI
      v)     PEDREGAL ONE CONDOMINIUMS, UNIT 203, LOS
             CABOS, BAJA CALIFORNIA SUR, MEXICO


      64.    In addition, the FBI has identified the following corporate entities that

Smith appears to own, control, and/or use to hide assets (“Smith Entities”):




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    Entity         Facts Indicating Smith’s Control       Relevant Properties

Biltmore        Smith established March 2019 as           1977 Woodbridge
Development     organizer/resident agent and sole         St., Detroit, MI
Group, LLC      officer. Arends was R/A from February     (commercial
                2023 to June 6, 2024, when she            property), purchased
                resigned. Address of Record: 16510        April 2023.
                Biltmore St., Detroit, MI

Biltmore     Smith established December 2016 as      N/A
Records, LLC resident agent and sole officer. Arends
             was R/A from February 2023 to June 6,
             2024, when she resigned. Address of
             Record: 16510 Biltmore St., Detroit,
             MI

Bleu Rose       Smith established February 2021 as        N/A
Investments,    organizer/registered agent and sole
LLC             officer. Arends was r/a from February
                2023 to June 6, 2024, when she
                resigned. Address of Record: 150 West
                Jefferson Ave, Suite 100, Detroit, MI.

First Round     Smith established February 2024 as        N/A. Received
Management,     resident agent and sole officer. Arends   $65,000 and $70,000
LLC             was r/a from February 2023 to June 6,     transfers from The
                2024, when she resigned. Address of       Joseph Group in
                Record: Address of Record: 150 West       September 2016.
                Jefferson Ave, Suite 100, Detroit, MI.

The YBE         Smith established April 2002 as           16551 Biltmore
Group, LLC      resident agent and sole officer. Arends   Street, Detroit, MI
                was r/a from February 2023 to June 6,
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                2024, when she resigned. Address of
                Record: Address of Record: 150 West
                Jefferson Ave, Suite 100, Detroit, MI.

YBE Food        Smith established October 2013 as         29555 Northwestern
Group, LLC      resident agent and sole officer. Arends   Hwy, Southfield, MI.
                was r/a from February 2023 to June 6,
                2024, when she resigned. Address of
                Record: Address of Record: 150 West
                Jefferson Ave, Suite 100, Detroit, MI.

YBE Services    Smith established July 2015 as resident   N/A
Group, LLC      agent and sole officer. Arends was r/a
                from February 2023 to June 6, 2024,
                when she resigned. Address of Record:
                Address of Record: 150 West Jefferson
                Ave, Suite 100, Detroit, MI.

YBE Tobacco     Smith established November 2018 as        1977 Woodbridge
Group, LLC      resident agent and sole officer. Arends   St., Detroit, MI
                was r/a from February 2023 to June 6,
                2024, when she resigned. Address of
                Record: Address of Record: 150 West
                Jefferson Ave, Suite 100, Detroit, MI.

Biltmore        Smith established December 2016 as        N/A
Publishing      resident agent and sole officer. Smith
Group, LLC      filed the last annual statement April
                2022. Address of Record: 16510
                Biltmore Street, Detroit, MI




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48235           Smith established December 2019 as      Previously owned
Properties,     resident agent and sole officer. No     18966 Sussex Street,
LLC             further documentation was submitted to Detroit, MI 48235
                the State of Michigan. Address of
                Record: 16510 Biltmore Street, Detroit,
                MI

Biltmore      Smith established December 2016 as          N/A
Entertainment resident agent and sole officer. After
Group, LLC    April 2022, no additional
              documentation was filed on this
              property. Address of Record: 16510
              Biltmore Street, Detroit, MI

The Joseph      Smith established October 2012 as         N/A. Received
Group &         resident agent and sole officer. Entity   $24M+ in
Associates,     was inactive between 2018 through         Conservancy funds.
LLC             2022. After April 2022, no additional
                documentation was filed on behalf of
                this entity. Address of Record: 33006
                Seven Mile Road, Suite 192, Livonia,
                MI

William Smith Smith established February 2001 as          N/A. Spent $14M in
& Associates  resident agent and sole officer. Entity     Conservancy funds
              entered periods of dormancy between         via Amex credit
              2001 and 2022. After 2022, no               cards, including on
              additional documents were filed on          real property
              behalf of this entity. Address of           expenses.
              Record: 33006 Seven Mile Road, #172,
              Livonia, MI


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Ross Drive,        Kimberly Smith established April 2024. 25307 Ross Drive,
LLC                Address of Record: 33006 West Seven Redford, MI
                   Mile Road, Suite 192, Livonia, MI.
                   Defendant and Kimberly Smith then
                   purported to transfer their marital
                   home—previously owned as husband
                   and wife—over to Ross Drive LLC.

YBE Property Smith established July 2015, as resident 17125 W. McNichols
Group, LLC   agent, and sole officer. Arends was r/a Road, Detroit, MI.
             from February 2023 to June 2024, when
             she resigned. Address of Record: 50
             West Jefferson Ave, Suite 100, Detroit,
             MI.

YBE                Smith established November 2020,         2087 Holtz Lane,
Investments,       through the State of Georgia. Smith      Atlanta, GA
LLC                named resident agent February 2021.
                   Address of Record: 2087 Holtz Lane,
                   Atlanta, GA

Alter Ego          Entity formed May 2020, by Sharah
Properties,        Rose through the State of Wyoming.
LLC                Smith filed the 2024 Annual Report.      Pedregal One
                   Address of Record: 30 North Gould        Condominiums, Unit
                   Street, Sheridan, WY. Smith acted on     203, Los Cabos, Baja
                   behalf of Alter Ego Properties LLC in    California Sur,
                   2021, giving power of attorney to Rose   Mexico
                   with regard to the Mexico condo.


     65.      Use of Corporate Entities as Nominees, Alter Egos, and for

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Fraudulent Transactions: on information and belief, (1) Defendant is using the

Smith Entities listed below as alter egos of himself, as nominees in transactions

designed to hide assets from his victims and law enforcement, as vehicles for

moving fraud and money-laundering proceeds, and as vehicles for fraudulent

transfers; and (2) the assets of the Smith Entities are therefore property of Smith

himself and/or subject to equitable restraint for the protection of the interests of

Smith’s victims and the United States, including their interests in restitution and

forfeiture.

       66.    Summary of Money Laundering Allegations: As described above,

Smith has been using the proceeds of his fraud to, inter alia, pay for interior design

renovations, airline tickets, hotels, limousines, household goods, lawn care,

clothing, and jewelry. This is reflected in Smith using Conservancy funds to pay

approximately $14.9 million in American Express credit card bills from 2012 to

2024. Each of these transactions commingled the proceeds of his offenses with

other property that he purchased before and during the criminal activity,

transforming victim funds into individual assets, and concealing the nature,

location, source, ownership, and control of his fraud proceeds. Furthermore, many

of these individual transactions involved more than $10,000 in fraud proceeds.

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      67.    Thus, Smith appears to have knowingly conducted transactions using

the proceeds of his fraud in transactions designed to conceal the nature, location,

source, ownership, and control of those proceeds, in violation of Title 18 United

States Code § 1956. Furthermore, Smith also appears to have knowingly

conducted transactions involving property of a value greater than $10,000 derived

from fraud, in violation of Title 18 United States Code § 1957.

      68.    For example, on September 1, 2016, Smith wired $85,000 in

Conservancy funds to The Joseph Group, and another $87,500 on September 15,

2016. On September 2, 2016, Smith transferred $65,000 from The Joseph Group

account to the First Round Management account. On September 15, 2016, Smith

transferred $70,000 from The Joseph Group Account to the First Round

Management account. The movement of funds obtained from unlawful activity

through multiple accounts is a technique used in money laundering.

      69.    Every time that Smith alienates or transfers an asset that could

otherwise be retained to repay his victims, he contributes to a continuing and

substantial injury to his victims, including the Conservancy, Comerica Bank, and

the Conservancy’s donors and financial partners (to include the United States, the

State of Michigan, and the City of Detroit) which justifies injunctive relief under

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18 U.S.C. § 1345(a)(2) and (b).

                           FIRST CLAIM FOR RELIEF

      70.    Plaintiff re-alleges and incorporates by reference each and every

allegation contained in the previous paragraphs as if fully set forth herein.

      71.    Defendant has received substantial assets as a result of his fraudulent

conduct, as described herein, in the amount of at least $39,300,000.00.

      72.    Upon information and belief, Smith is in the process of withdrawing,

transferring, removing, dissipating, and disposing of these assets, including

transferring assets to family members for nominal amounts, and attempting to sell

real estate and his yacht to third parties.

      73.    Pursuant to 18 U.S.C. § 1345(a)(2), if Smith is alienating or disposing

of property obtained as a result of violations of 18 U.S.C. § 1343 (Wire Fraud)

affecting a financial institution, and/or 18 U.S.C. §§ 1956 and 1957 (Money

Laundering), the United States is entitled to an order enjoining such alienation or

disposition, or an order prohibiting Defendant from withdrawing, transferring,

removing, dissipating or disposing of such property or property of equivalent value.

      74.    The loss of this $39.3 million—and likely more—is a continuing and

substantial injury to the Conservancy, Comerica Bank, the United States, and the

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Conservancy’s donors and financial partners (to include the State of Michigan, and

the City of Detroit).

      75.    Pursuant to 18 U.S.C. § 1345 (b), the United States is entitled to an

order enjoining any person from withdrawing, transferring, removing, dissipating,

or disposing of any such property or property of equivalent value under Smith’s

control, and freezing Smith’s assets up to the total amount of $44,300,00.00.

      76.    Congress enacted 18 U.S.C. § 1345(a)(2) and (b) to authorize

injunctive relief to protect victims of fraud in these circumstances.

                         SECOND CLAIM FOR RELIEF

      77.    Plaintiff re-alleges and incorporates by reference each and every

allegation contained in the previous paragraphs as if fully set forth herein.

      78.    On information and belief, Defendant is committing or about to

commit banking law violations (as defined in 18 U.S.C. 3322(d)), by his attempts

to sell assets derived from criminal proceeds with a monetary value in excess of

$10,000, which would violate 18 U.S.C. § 1957. For example, Smith appears to be

attempting to sell the Georgia home, Mexico condo, and yacht which were

purchased during his lucrative period of fraud from 2012-2024.

      79.    Pursuant to 18 U.S.C. § 1345(a)(1), the United States is entitled to an

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order enjoining criminal violations of 18 U.S.C. § 1957.

      80.    The loss of this criminal proceeds via these attempted sales—and any

transactions already completed—is a continuing and substantial injury to the

Conservancy, Comerica Bank, the United States, and the Conservancy’s donors

and financial partners (to include the State of Michigan, and the City of Detroit).

      81.    Pursuant to 18 U.S.C. § 1345(a)(1) and (b), the United States is

entitled to an order enjoining Smith from violating 18 U.S.C. § 1957 by selling or

transferring any property derived from unlawful activity in an amount in excess of

$10,000, including the Georgia home, Mexico condo, and yacht.

      82.    Congress enacted 18 U.S.C. § 1345(a)(1) and (b) to authorize

injunctive relief to protect victims of fraud in these circumstances.

                                  Prayer for Relief

      WHEREFORE, the United States requests, pursuant to 18 U.S.C. § 1345,

and the Court’s equitable authority (including the All Writs Act, 28 U.S.C. § 1651)

that the Court:

   1) Enter appropriate findings, to include a finding that Smith’s assets, funds, or

      other property up to a total value of $39,300,000 constitute either property


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     obtained as a result of banking law violations as detailed above or property

     of equivalent value, within the meaning of 18 U.S.C. § 1345(a)(2).

  2) Enter injunctive relief—to include a temporary restraining order, preliminary

     injunction, and a permanent injunction—prohibiting any person from

     transferring or disposing of Defendant’s assets (to include the assets of his

     corporate entities) up to a total value of $39.3 million dollars. This asset

     freeze order should except only (1) necessary and reasonable living

     expenses, (2) necessary and reasonable expenses of any ongoing, legitimate

     business operations, and (3) use of any untainted funds that are necessary

     and reasonable to pay Smith’s counsel of choice in his criminal case,

     pursuant to Luis v. United States, 578 U.S. 5, 18 (2016). The Government

     requests that release of funds pursuant to these exceptions be granted only

     upon good cause shown by application to the Court with notice to and an

     opportunity for the United States to be heard.

  3) Authorize service of this Order on Defendant, his companies, agents, and

     financial institutions, and any other relevant entity or person.




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  4) Require Defendant and the Smith Entities to show cause, if there be any,

     why the Court should not enter a preliminary injunction extending this relief

     pending a final adjudication on the merits.

  5) Enjoin Smith from violating 18 U.S.C. § 1957 (and/or 18 U.S.C § 1956) by

     selling or transferring any property derived from unlawful activity in an

     amount in excess of $10,000, including the Georgia home, Mexico condo,

     and yacht.

  6) Enter “such a restraining order or prohibition, or take such other action, as is

     warranted to prevent a continuing and substantial injury to the United States

     or to any person or class of persons for whose protection the action is

     brought.” 18 U.S.C. § 1345(b).

  7) Order other appropriate relief as permitted by federal law and this Court’s

     equitable powers, including but not limited to the All Writs Act, 28 U.S.C. §

     1651.

                                      Respectfully submitted,

                                      Dawn N. Ison
                                      United States Attorney

                                      /s/ K. Craig Welkener
                                      K. Craig Welkener
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Date: June 21, 2024




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                                  VERIFICATION

      I, Timothy Hoff, state that I am a Special Agent of the Federal Bureau of

Investigation (“FBI”). I have read the foregoing Complaint and declare under

penalty of perjury that the facts contained therein are true and correct to the best of

my knowledge and belief, based upon knowledge possessed by me and/or on

information received from other law enforcement agents and employees of the

United States Government.



                                        Timothy Hoff
                                        Special Agent
                                        Federal Bureau of Investigation

Dated: June 21, 2024




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